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               10      Attorneys for Defendant
                       Atlantic Coast Conference
               11

               12                                  UNITED STATES DISTRICT COURT

               13                             NORTHERN DISTRICT OF CALIFORNIA

               14                                       OAKLAND DIVISION

               15      IN RE: COLLEGE ATHLETE NIL                  Case No. 4:20-cv-03919-CW
                       LITIGATION
               16
                                                                   DECLARATION OF ANNA M. RATHBUN
               17                                                  REGARDING CAFA NOTICE
                                                                   COMPLIANCE (28 U.S.C. § 1715)
               18
                                                                   Complaint Filed: June 15, 2020
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ATTORNEYS AT LAW
                                                                                  DECLARATION OF ANNA M. RATHBUN
                                                                                      REGARDING CAFA COMPLIANCE
                                                                                                    4:20-cv-03919-CW
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                   1           I, Anna M. Rathbun, declare and state as follows:

                   2           1.     I am an attorney duly licensed to practice before this Court and with the law firm

                   3   of Latham & Watkins LLP, counsel of record for Defendant Atlantic Coast Conference. I have

                   4   personal knowledge of the facts set forth in this Declaration and if called as a witness, I could

                   5   and would testify competently to each fact.

                   6           2.     I submit this Declaration on behalf of Defendants National Collegiate Athletic

                   7   Association (“NCAA”), Pac-12 Conference (“Pac-12”), The Big Ten Conference, Inc. (“Big

                   8   Ten”), The Big 12 Conference, Inc. (“Big 12”), Southeastern Conference (“SEC”), and the

                   9   Atlantic Coast Conference (“ACC”) (collectively, “Defendants”) pursuant to the Court’s Order

               10      Granting Plaintiffs’ Motion for Preliminary Settlement Approval As Modified (Dkt. 544, ¶ 27) to

               11      show compliance with the notice requirements of the Class Action Fairness Act, 28 U.S.C.

               12      § 1711, et seq. (“CAFA”).

               13              3.     Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement was filed

               14      on July 26, 2024. Pursuant to 28 U.S.C. § 1715(b), within ten days of that filing, on August 5,

               15      2024, I directed my staff to send the CAFA notice letter (“CAFA Notice”) in accordance with 28

               16      U.S.C. § 1715 to Mr. Merrick B. Garland, the United States Attorney General, the California

               17      Attorney General, and all other Attorneys General of states where Class Members reside.

               18              4.     Attached hereto as Exhibit A is a true and correct copy of the letter sent to each

               19      Attorney General, detailing the specific documents that were included in the mailing (without

               20      enclosures) as required by 28 U.S.C. § 1715(b)(1)-(8). These letters were sent via Certified U.S.

               21      Mail.

               22              5.     To date, apart from email confirming receipt of the CAFA Notice, no response to

               23      the CAFA Notice letters have been received.

               24              6.     To the best of my knowledge, Defendants have fully complied with CAFA’s

               25      notice requirements.

               26              7.     I declare under the penalty of perjury under the laws of the United States that the

               27      foregoing is true and correct.

               28
ATTORNEYS AT LAW
                                                                                          DECLARATION OF ANNA M. RATHBUN
                                                                         1                    REGARDING CAFA COMPLIANCE
                                                                                                             4:20-cv-03919-CW
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                   1        Executed this 15th day of October 2024 at Washington, D.C.

                   2
                                                                             /s/ Anna M. Rathbun
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                   7                                                     Attorney for Defendant
                                                                         Atlantic Coast Conference
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                                                                    2                    REGARDING CAFA COMPLIANCE
                                                                                                       4:20-cv-03919-CW
